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                                  UNITED STATES BANKRUPTCY COURT
                                     WESTERN DISTRICT OF TEXAS
                                           WACO DIVISION

  IN RE:                                                     §     CHAPTER 11
                                                             §
  DARYL GREG SMITH and,                                      §     CASE NO. 21-60162-RBK-11
  CANADIAN RIVER RANCH, LLC                                  §     CASE NO. 21-60163-RBK-11
                                                             §     Jointly Administered Under
                                                             §     Case No. 21-60162-rbk
             Debtors.                                        §

                             NOTICE OF AUCTION AND SALE HEARING

          PLEASE TAKE NOTICE that on April 9, 2021 (the “Petition Date”), Daryl Greg Smith
  (“Smith”) and Canadian River Ranch, LLC (“CRR” and together with Smith, the “Debtors”)
  each filed a voluntary petition for relief under the Bankruptcy Code filed a voluntary petition for
  relief under Chapter 11 of Title 11 of the United States Code. On June 29, 2021, the United
  States Bankruptcy Court for the Western District of Texas, Austin Division (the “Bankruptcy
  Court”) approved the appointment of Gregory S. Milligan as chapter 11 trustee for the Debtors
  (the “Trustee”).

          PLEASE TAKE NOTICE that on March 4, 2022, the Bankruptcy Court entered an order
  (the “Bid Procedures Order”) approving the Trustee’s Motion for (I) Order Approving (A) Bid
  Procedures, Including Approval of Stalking Horse Bidder, (B) Notice of Auction and Sale
  Hearing, and (C) Related Relief and (II) Order (A) Approving the Sale of Real Estate Free and
  Clear of All Liens, Claims, Encumbrances and Other Interests Pursuant to Bankruptcy Code
  Sections 105, 363(b), (f), and (m), and 365, and (B) Granting Related Relief (the “Sale
  Motion1”), filed by the Trustee. The Sale Motion and Bid Procedures Order also sought to
  establish (i) an auction (the “Auction”) and (ii) a final hearing (the “Sale Hearing”) to approve
  the sale of certain real estate set forth in the TL Contract (the “Property”) owned by (i) the estate
  of Daryl Greg Smith and (ii) Darren Keith Reed (together, the “Sellers”), all as more fully
  described in the Sale Motion.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures Order, the
  Trustee is authorized to enter into the TL Contract with the Stalking Horse Bidder for the
  Property.

         PLEASE TAKE FURTHER NOTICE that pursuant to the Bid Procedures Order, if the
  Trustee receives one or more timely and acceptable Qualified Bids (as defined in the Bid
  Procedures Order) for the Property, the Auction shall take place April 25, 2022 at 1:00 p.m.
  (prevailing Central Time) in open Court at the United States Bankruptcy Court, 800 Franklin
  Avenue, Courtroom 1, Waco, Texas 76701, or such other location as designated by the Trustee



  1
      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Sale Motion.


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  in a notice to all Qualified Bidders. Parties may appear in person or via Webex2 video. Only
  parties that have submitted a Qualified Bid, as set forth in the Bid Procedures Order, by no later
  than April 18, 2022 at 5:00 p.m. (prevailing Central Time) (the “Bid Deadline”) may bid at
  the Auction. Any party that wishes to take part in this process and submit a bid for the Property
  must submit their competing bid prior to the Bid Deadline and in accordance with the Bid
  Procedures.

         PLEASE TAKE FURTHER NOTICE that the Sale Hearing to consider approval of the
  sale of the Property to the winning bidder at the Auction, free and clear of all liens, claims,
  encumbrances and other interests, will be held before the Honorable Ronald B. King at the
  United States Bankruptcy Court, 800 Franklin Avenue, Courtroom 1, Waco, Texas 76701 on
  April 25, 2022 at 1:00 p.m. (prevailing Central Time), or at such other time as the Court is
  available. Parties may appear in person or via Webex video (see fn. 2 above).

          PLEASE TAKE FURTHER NOTICE that objections to the sale, if any, must be filed
  with the Bankruptcy Court and served so as to be actually received by the Objection Recipients
  no later than April 22, 2022 at 5:00 p.m. (prevailing Central Time).

         PLEASE TAKE FURTHER NOTICE that the Objection Recipients are (i) the Office of
  the United States Trustee for the Western District of Texas, (ii) counsel to the Trustee, Waller
  Lansden Dortch & Davis, LLP, Morris D. Weiss, 100 Congress Avenue, 18th Floor, Austin,
  Texas 78701, morris.weiss@wallerlaw.com and (iii) counsel to the Stalking Horse Bidder,
  Langley & Banack, Incorporated, William R. Davis, Jr. and David S. Gragg, 745 East Mulberry
  Avenue, Suite 700 San Antonio, Texas 78212, wrdavis@langleybanack.com and
  dgragg@langleybanack.com.

       PLEASE TAKE FURTHER NOTICE THAT UNLESS AN OBJECTION IS
  TIMELY SERVED AND FILED IN ACCORDANCE WITH THIS NOTICE, IT MAY
  NOT BE CONSIDERED BY THE BANKRUPTCY COURT, AND THE BANKRUPTCY
  COURT MAY GRANT THE RELIEF REQUESTED IN THE SALE MOTION
  WITHOUT FURTHER HEARING AND NOTICE.

          PLEASE TAKE FURTHER NOTICE that this Notice of Auction and Sale Hearing is
  subject to the fuller terms and conditions of the Sale Motion and the Bid Procedures Order, with
  such Bid Procedures Order controlling in the event of any conflict, and the Trustee encourage
  parties in interest to review such documents in their entirety. Parties interested in receiving more
  information regarding the sale of the Property and/or copies of any related document, including
  the Sale Motion, the TL Contract filed in connection with the Sale Motion, or the Bid Procedures
  Order, may make a written request to Waller Lansden Dortch & Davis, LLP, Morris D. Weiss,
  100 Congress Avenue, 18th Floor, Austin, Texas 78701, morris.weiss@wallerlaw.com. In
  addition, copies of the Sale Motion, the Bid Procedures Order and this Notice may be examined
  by interested parties on the Court’s electronic docket for the Debtors’ chapter 11 cases, which is
  posted on the Internet at PACER for a fee (a PACER login and password are required and can be
  obtained through the PACER Service Center at www.pacer.psc.uscourts.gov).

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   Parties may attend via Webex at https://us-courts.webex.com/meet/King. Additional instructions and information
  on using Webex may be found on the Court’s website at https://www.txwb.uscourts.gov/txwbvirtualhearings.


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  Dated: March 8, 2022
  Austin, Texas

                                               Respectfully submitted,

                                               WALLER LANSDEN DORTCH & DAVIS, LLP

                                               By: /s/ Morris D. Weiss
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                                                  Courtney K. Stone
                                                  Texas Bar No. 24093208
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                                                              courtney.stone@wallerlaw.com

                                               COUNSEL TO GREGORY S. MILLIGAN,
                                               CHAPTER 11 TRUSTEE


                                  CERTIFICATE OF SERVICE

          I hereby certify that the above and foregoing document has been served via the Court’s
  ECF System on all parties on the attached service list on March 8, 2022. A separate certificate of
  service will be filed for parties served by mail.


                                               /s/ Morris D. Weiss
                                               Morris D. Weiss




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                                  SERVICE LIST - ECF PARTIES ONLY

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